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 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
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10   RAFAEL ARROYO, JR.,                          CV 19-8606 PA (ASx)
11                Plaintiff,                      JUDGMENT
12          v.
13   THRIFTY PAYLESS, INC.; and DOES
     1-10,
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                  Defendants.
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18         Pursuant to the Court’s July 13, 2020 Minute Order dismissing this action for lack of

19   prosecution and failure to comply with the Court’s Order,

20         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is

21   dismissed without prejudice.

22         IT IS SO ORDERED.

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24   DATED: July 14, 2020                             _________________________________
                                                                 Percy Anderson
25                                                      UNITED STATES DISTRICT JUDGE
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